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     UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION


GAWAIN BAXTER, LAURA BAXTER
and VALESKA PARIS,

       Plaintiffs,
v.                                                     Case No.: 8:22-cv-00986-TPB-JSS
DAVID MISCAVIGE; CHURCH OF
SCIENTOLOGY INTERNATIONAL, INC.;
RELIGIOUS TECHNOLOGY CENTER, INC.;
IAS ADMINISTRATIONS, INC.; CHURCH
OF SCIENTOLOGY FLAG SERVICE
ORGANIZATION, INC.; CHURCH OF
SCIENTOLOGY FLAG SHIP SERVICE
ORGANIZATION, INC.,

       Defendants.
_______________________________________/
      DEFENDANT CHURCH OF SCIENTOLOGY FLAG SHIP SERVICE
    ORGANIZATION, INC.’S MOTION TO COMPEL ARBITRATION, OR IN
    THE ALTERNATIVE, TO DISMISS THE FIRST AMENDED COMPLAINT

       Defendant, Church of Scientology Flag Ship Service Organization, Inc., (“FSSO”),

through undersigned counsel, respectfully moves this Court to compel arbitration pursuant

to the Plaintiffs’ binding arbitration agreements1 or, in the alternative, to dismiss all claims

pursuant to Federal Rules of Civil Procedure 12(b)(6). In support, FSSO states:

                                           INTRODUCTION

       Plaintiffs each served for over a decade as members of the Sea Organization (“Sea

Org”), a religious order within the Scientology religion, and time and again agreed to


1
 “Plaintiffs” refers collectively to Plaintiffs Gawain Baxter (“G. Baxter”), Laura Baxter (“L. Baxter”)
and Valeska Paris (“Paris”). G. Baxter and L. Baxter, together, will be referred to as the “Baxters.”
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submit “any” disputes they might have regarding such service to Scientology internal

ethics and justice procedures, up to and including binding religious arbitration. They

executed those agreements to arbitrate under Scientology ecclesiastical law and justice

procedures and to waive civil recourse as an express condition for serving as members

in Scientology’s religious order. Plaintiffs executed these agreements while some of the

conduct they now complain of allegedly was occurring. They also executed agreements

to arbitrate upon leaving the Sea Org, and thus after their causes of action accrued. There

is no question that FSSO and Plaintiffs expressly agreed to arbitrate the claims Plaintiffs

assert, which concern nothing but their service in the Sea Org.

       The binding authority of this Circuit dictates that the Court must enforce the

agreements. In Garcia v. Church of Scientology Flag Srvc. Org., Inc., No. 18-13452, 2021

WL 5074465 (11th Cir. Nov. 2, 2021) (“Garcia”), the Eleventh Circuit enforced the

identical arbitration agreements that Plaintiffs here signed. Garcia held that the

Scientology arbitration agreements “disclosed adequate procedures” and were

“sufficiently definite.” Id. at *6-7. Garcia also held that the First Amendment barred

Plaintiffs’ arguments that certain Scientology religious doctrine (such as the

requirement that the arbitrators be Scientologists in good standing) rendered the

agreements substantively unconscionable. Id. at *9.

       While Garcia is sufficient to enforce the agreements to arbitrate, additional facts

discussed herein require the conclusion that this case must be arbitrated. In Garcia, the

plaintiffs were lay parishioners and brought claims for refunds of donations. Here,

however, Plaintiffs were members of Scientology’s religious order and their claims, regardless

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of the sensational labels they ascribe to those claims, concern the circumstances of their

service to the Church. Under the Free Exercise and Establishment Clause of the U.S.

Constitution, the Church may establish its own rules governing its relationship with

religious workers, exempt from civil law. The Church’s ecclesiastical arbitration is a

condition of service in the Sea Org. The Constitution prohibits this Court from using the

civil law to rewrite the terms of joining and serving in a religious order. The Church

arbitration agreements, as written and agreed to by Plaintiffs, must be enforced.

       In the event the Court declines to compel arbitration, Plaintiffs’ claims must be

dismissed pursuant to Rule 12(b)(6) for the reasons set forth in Defendant FSO’s

Motion to Dismiss (ECF No. 85).

                             FACTUAL BACKGROUND

 I.    Relevant Scientology Beliefs and Practices

       The Scientology religion was founded by L. Ron Hubbard. A central tenet of

the Scientology religion is that both parishioners and Scientology churches must raise

and resolve all disputes between each other exclusively through the Scientology

internal Ethics and Justice system developed by Mr. Hubbard. (Declaration of Sarah

Heller attached as Exhibit “1” (“Heller Decl.”), ¶¶ 5, 11; see also id. ¶¶ 8-13.) All

Scientologists and staff members in accepting posts or membership agree to abide

by Scientology religious Justice codes (id. ¶ 11; see also id. ¶¶ 9, 13), and the Scientology

jurisprudence system must be used in all matters relating to Scientology organizations,

groups, and concerns. (Id. ¶ 9 & 11.) Many issues that may arise in disputes between




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Scientology members, or between members and the Church, will require application

of Scientology doctrine, including the Church’s ethical code of conduct. Only

Scientologists would have the background in Scientology necessary to understand and

apply those doctrines. (Id. ¶ 12.) Mr. Hubbard demanded that Scientologists must use

Scientology justice in all their affairs. (Id. ¶ 11; see also id. ¶¶ 12-14.)

       A.     The Baxters’ Arbitration Agreements

       The Baxters executed enrollment applications expressing their commitment to

Scientology as a condition for participating in the Sea Org and in Scientology religious

services. Each promised to resolve all disputes with the Church, related entities, and

officers, directors, or staff of such entities exclusively through ecclesiastical arbitration by

use of the Scientology Ethics and Justice system and waived any right to sue in civil courts.

       The “Religious Services Enrollment Application, Agreement and General

Release,” executed by G. Baxter in 2003 and L. Baxter in 2004 (collectively with the

agreement signed by Paris discussed below, “Enrollment Agreements”), contained the

following language:

              [6.] a. My freely given consent to be bound exclusively by the
              discipline, faith, internal organization, and ecclesiastical rule,
              custom, and law of the Scientology religion in all matters relating
              to Scientology Religious Services, in all my dealings of any nature
              with the Church, and in all my dealings of any nature with any
              other Scientology church or organization which espouses, presents,
              propagates or practices the Scientology religion means that I am
              forever abandoning, surrendering, waiving, and relinquishing my
              right to sue, or otherwise seek legal recourse with respect to any
              dispute, claim or controversy against the Church, all other
              Scientology churches, all other organizations which espouse,
              present, propagate or practice the Scientology religion, and all


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               persons employed by any such entity both in their personal
               and any official or representational capacities, regardless of
               the nature of the dispute, claim or controversy.

(Declaration of Kenneth Weber attached as Exhibit “2” (“Weber Decl.”), ¶¶ 7-8; id.

Ex. A (G. Baxter Enrollment Agreement) at ¶ 6.a. and Ex. B (L. Baxter Enrollment

Agreement) at ¶ 6.a. (emphasis added).)

       The Baxters agreed in the Enrollment Agreements that “any dispute” they may

have with any Scientology organization must be resolved through Scientology Ethics

and Justice procedures, including, if necessary, binding religious arbitration:

               [6.] d. In accordance with the discipline, faith, internal
               organization, and ecclesiastical rule, custom, and law of the
               Scientology religion, and in accordance with the
               constitutional prohibitions which forbid governmental
               interference with religious services or dispute resolution
               procedures, should any dispute, claim or controversy arise
               between me and the Church, any other Scientology church, any
               other organization which espouses, presents, propagates or
               practices the Scientology religion, or any person employed by
               any such entity, which cannot be resolved informally by direct
               communication, I will pursue resolution of that dispute, claim
               or controversy solely and exclusively through Scientology’s
               internal Ethics, Justice and binding religious arbitration
               procedures, which include application to senior ecclesiastical
               bodies, including, as necessary, final submission of the dispute
               to the International Justice Chief of the Mother Church of the
               Scientology religion, Church of Scientology International
               (“IJC”) or his or her designee.

(Id., Exs. A and B at ¶ 6.d. (emphasis added).) To effectuate a religious arbitration, the

Baxters agreed to submit a request for arbitration to the IJC and designate one arbitrator to

hear and resolve the matter. (Id. ¶ 6.e.i, ii.) The adverse party would then designate a second

arbitrator, and the two designated arbitrators would select a third. (Id. at ¶ 6.e.iii, iv.)



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          As part of their Covenants, the Baxters affirmed that Scientology dispute

procedures would apply to any dispute “arising out of this Covenant” – i.e., their

service as members of the Sea Org. (Weber Decl. Exs. C and D at p. 2, ¶ 9 (“G. Baxter

and L. Baxter Covenants”).) The Church, “in reliance on” the Baxters’ “promises and

covenants,” agreed to let them serve in the Sea Org. (Id. at p. 6.)

          B.     On Leaving the Sea Org, The Baxters Reaffirm their Agreements to Arbitrate

          The FAC alleges that the Baxters signed “a series of documents” before they

left the Sea Org and the Freewinds. (FAC ¶ 132.)2 Those documents include a “Staff

Departure Release Agreement” (“Departure Agreements.”) (Weber Decl. Exs. E and

F.) In the Departure Agreements, the Baxters reaffirmed their prior assent to

ecclesiastic dispute resolution, to wit:

                 [6.]C. I further agree that arbitration pursuant to the
                 Scientology system of Ethics and Justice shall be my sole and
                 exclusive remedy for resolving any problem or dispute I may
                 have concerning my experiences as a member of the Sea Org
                 or as [a] voluntary religious worker for the Church or any
                 Scientology Entity, or concerning my participation in
                 Scientology religious services, or concerning any matter of
                 church governance, organization, or discipline, and that I will
                 not seek to resolve any such problem or dispute in any other
                 way, including the filing of a lawsuit in a secular court of law.

(Id. ¶ 12, Exs. E and F at p. 6, ¶ 6.C.) The procedures for convening and conducting

arbitration are in previous Agreements that the Baxters signed, which they reaffirmed

in the Departure Agreements. (Id., Exs. E and F at p. 7, ¶ 7.E.)

          While the FAC alleges the Baxters were “traumatized” by their experiences in


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    The First Amended Complaint will be referenced and cited as “FAC.”


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the Sea Org, in reality, they each remained practicing Scientologists for years after they

left the Sea Org. In December 2015, for instance, each executed an “Introductory

Scientology Courses Enrolment Application and General Release Deed” (“Deed”)

stating their desire to participate in additional Scientology courses. (Declaration of Sei

Kato attached as Exhibit “3” (“Kato Decl.”), ¶ 3, Exs. A and B.) In each Deed,

executed years after they had left the Freewinds, the Baxters again agreed to resolve

disputes through Scientology ecclesiastical procedures. (Id., Exs. A and B at p. 2, ¶ 5.)

      C.     Paris’ Arbitration Agreements

      Like the Baxters, Paris signed multiple agreements confirming her commitment

to arbitrate disputes that may arise with the Church. In 2003, for instance, when Paris

was in her mid-20s, she executed an Enrollment Agreement which contained the

identical arbitration terms as those signed by the Baxters. (Weber Decl. ¶ 13, Ex. G

(“Paris Enrollment Agreement”) at ¶ 6.e.) Just like the Baxters, Paris also signed a

Religious Covenant agreement. (Heller Decl. ¶ 24, Ex. A (“Paris Covenant”).)

      In December 2007, Paris departed from her service on the Freewinds. (Weber

Decl. ¶ 14.) At that time, she executed an Agreement and General Release (the “2007

Release Agreement”). (Id. ¶ 14, Ex. H). In the 2007 Release Agreement, Paris

recommitted to resolve “any dispute with any of the Releasees [defined to include

Defendants] through binding Scientology ecclesiastical arbitration under the authority

of the International Justice Chief.” (Id., Ex. H, ¶¶ 7.A., 2.A (emphases added).) Again

in 2009, when Paris was over thirty (30) years old, she executed a series of agreements




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memorializing her departure from the Sea Org. Among the agreements was an

Agreement and General Release (“2009 Release Agreement”). (Id. ¶ 15, Ex. I (“Paris

Agreement and General Release”).) In her 2009 Release Agreement, Paris

recommitted to resolve “any dispute . . . solely and exclusively through Scientology’s

internal Ethics and Justice procedures,” including the arbitration provisions she

accepted in the Enrollment Agreement. (Id., Ex. I ¶ 7.A.)

                  ARGUMENT AND MEMORANDUM OF LAW

 I.    Plaintiffs Must Arbitrate Their Claims Against Defendants

          A. The Agreements Are Enforceable under the Federal Arbitration Act (“FAA”)

       “The Federal Arbitration Act requires a federal court to stay or dismiss a lawsuit

and compel arbitration if ‘the plaintiff entered into a written arbitration agreement that is

enforceable under ordinary state-law contract principles’ and ‘the claims before the court

fall within the scope of that agreement.’” Garcia, 2021 WL 5074465 at *6 (citing Lambert

v. Austin Ind., 544 F.3d 1192, 1195 (11th Cir. 2008)). The FAA applies to any “contract

evidencing a transaction involving commerce” that contains an arbitration provision. 9

U.S.C. § 2; Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529 (2019).

       The “term ‘involving commerce’ in the FAA is the functional equivalent of the

more familiar term ‘affecting commerce’—words of art that ordinarily signal the

broadest permissible exercise of Congress’ Commerce Clause power.” Citizens Bank v.

Alafabco, Inc., 539 U.S. 52, 56 (2003). “The ‘business’ or ‘commerce’ of a church

involves the solicitation and receipt of donations, and the provision of spiritual, social,



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community, educational (religious or non-religious) and other charitable services.”

U.S. v. Rayborn, 312 F.3d 229, 233 (6th Cir. 2002); Camps Newfound/Owatonna v. Town

of Harrison, Me., 520 U.S. 564, 584-85 (1997) (commerce clause applies to non-profit

entities). The FAA thus governs religious arbitration agreements. Graves v. George Fox

University, No. CV-06-395-S-EJL, 2007 WL 2363372 *4 (D. Idaho, Aug. 16, 2007)

(FAA applies to agreement calling for use of Christian Conciliation Procedures). This

reflects both the FAA’s policy of enforcing valid agreements to arbitrate, and the

freedom of religious adherents and institutions to resolve their disputes in the forum

of their choosing. Thus, when a religious organization seeks arbitration, a court should

ask only “whether the parties have an enforceable agreement to arbitrate and, if so,

whether the underlying dispute between the parties falls within the scope of the

agreement.” Meshel v. Ohev Sholom Talmud Torah, 869 A.2d 343, 354, 361 (D.C. 2005).

      Plaintiffs’ Enrollment Agreements, the Baxters’ Departure Agreements and

Paris’ Release Agreements—all of which contain arbitration provisions—affect

interstate commerce within the meaning of the FAA. The signatories to the

agreements are Plaintiffs and FSSO, but each expressly applies to all Scientology

churches throughout the world and the other named defendants in this dispute: (a)

Defendant, Church of Scientology International, Inc. (“CSI”), which is headquartered

in California (Declaration of Lynn R. Farny filed in support of CSI’s Motion to

Dismiss, ¶¶ 4, 7); (b) Defendant Religious Technology Center, Inc. (“RTC”), also

headquartered in California (Declaration of Warren McShane filed in support of

RTC’s Motion to Dismiss, ¶¶ 4-5); (c) FSO located in Clearwater, Florida and which

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serves as the worldwide spiritual headquarters to Scientology and ministers to

Scientologists throughout the world who come to Clearwater for Scientology services

(see Heller Decl. ¶ 2); and (d) Defendant IAS Administrations, Inc. (“IASA”), a

Delaware corporation with its headquarters in California (Declaration of Mislav Raos

filed in support of IASA’s Motion to Dismiss, ¶¶ 4, 5).

      Among other things, the Enrollment Agreements govern religious donations

used, in part, to help fund the Church’s ministry throughout the United States and

globally. (Weber Decl. Exs. A, B, and G ¶¶ 5.c.i-iv.) The Baxters’ Departure

Agreements and Paris’ Release Agreements also contain provisions involving

interstate commerce. They concern Plaintiffs’ time in the Sea Org in service of the

worldwide Church, acknowledge Plaintiffs’ strict confidentiality obligations about the

location of Church facilities, Church security information, attorney-client

communications, and personal information about Scientology staff members and

parishioners, among other information. (Id. ¶¶ 17-18, Exs. E and F at ¶ 1.B; id., Exs.

H and I at ¶¶ 5.D, 6.A-C.) They release any claims against any Scientology church

worldwide. (Id. ¶ 18, Exs. E and F at ¶¶ 3.A-D; id., Exs. H and I at ¶ 2.A.) The

Departure Agreements and Release Agreements all contain liquidated damages

provisions, by which each Plaintiff agreed to pay the Church various sums for any

violation of the Departure Agreements. (Id. ¶ 19, Exs. E and F at ¶ 5.C; id., Ex. I at ¶

7.D.) The “involvement” of and effect on commerce is irrefutable. Although

Defendants are nonprofit religious organizations, their “solicitation and receipt of

donations, and the provisions of spiritual, social, community, educational (religious

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or non-religious) and other charitable services” all involve commerce. Rayborn, 312

F.3d at 233; see also Camps Newfound/Owatonna, 520 U.S. at 584-85.

       Plaintiffs may argue that, because the FAA does not extend to “contracts of

employment of seamen” (9 U.S.C. § 1), their arbitration agreements are not

enforceable. That argument fails. First, the agreements are not “contracts of

employment of seamen.” They do not mention the Freewinds or Plaintiffs’ service

aboard the vessel. They instead address Plaintiffs’ entire relationship with the Church

and the Scientology religion.3 (Enrollment Agreements, Weber Decl. Exs. A, B, and

G, ¶ 6.d.; Departure Agreements, Id., Exs. E and F at p. 1; Release Agreements, Id.,

Exs. H and I at p. 1.) Second, the FAA exception for “seamen” does not apply to

arbitration agreements executed after the alleged injury has occurred. Terrebone v. K-sea

Trans. Corp., et al., 477 F.3d 271 (5th Cir. 2007). Because Plaintiffs admit that they

entered into the Departure Agreements at the end of their time on the Freewinds, the

exception for seamen does not apply. (FAC ¶ 133.)

       Even if the FAA does not apply, however, analogous federal law still requires

enforcement of Plaintiffs’ arbitration agreements. The Convention on Enforcement of

Foreign Arbitral Awards (“CEFAA”), 9 U.S.C. § 201 et seq., applies to arbitration

agreements if “(1) there is an agreement in writing to arbitrate the dispute, (2) the

agreement provides for arbitration in the territory of a Convention signatory, (3) the



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 The Covenants also acknowledge that the Plaintiffs may “from time to time be transferred from one
Church or related organization to another pursuant to ecclesiastical policy and need.” (Covenants,
Weber Decl. Exs. C and D at p. 4, ¶ 8.)


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agreement arises out of a commercial legal relationship, and (4) a party to the

agreement is not an American citizen.” Francisco v. STOLT ACHIEVEMENT MT, 293

F.3d 270, 274 (5th Cir.), cert. denied 537 U.S. 1030 (2002). Here, Plaintiffs executed

written arbitration agreements that provide for arbitration in a signatory nation (the

United States), and the Plaintiffs are all citizens and residents of foreign countries.

(FAC ¶¶ 13-15.) Furthermore, as shown above, the agreements “involve commerce.”

The arbitration agreements are enforceable under CEFAA. Francisco, 293 F.3d at 274;

see also Freudensprung v. Offshore Tech. Services, 379 F.3d 327, 339 (5th Cir. 2004).

Finally, even if the FAA and the CEFAA did not apply, the arbitration agreements

would be enforceable under parallel state laws governing the enforcement of

agreements to arbitrate. (See note 4, infra.)

          B. The Agreements Are Valid and Encompass the Disputes, and Therefore Must
             Be Enforced

       The FAA provides that an agreement to arbitrate a dispute is “valid, irrevocable,

and enforceable, save upon such grounds as exist at law or in equity for the revocation

of any contract.” 9 U.S.C. § 2. The FAA reflects an “liberal” policy in favor of

arbitration. AT&T Mobility LLC v. Concepcion, 563 U.S. 333 (2011). Any “doubts

concerning the scope of arbitrable issues should be resolved in favor of arbitration[.]”

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626 (1985) (quote

omitted); Hearn v. Comcast Cable Commc’ns, LLC, 992 F.3d 1209, 1213 (11th Cir. 2021).

       The same public policy favoring enforcement applies generally to matters

implicating the CEFAA, see Bautista v. Star Cruises, 396 F.3d 1289, 1297 (11th Cir.


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2005) (“The FAA applies residually to supplement the provisions of the Convention

Act . . . Congress gave the treaty-implementing statutes primacy in their fields, with

FAA provisions applying only where they did not conflict”); see also Martinez v. Carnival

Corp., 744 F.3d 1240, 1243 n. 1 (11th Cir. 2014), and relevant state law having a heavy

presumption in favor of arbitrability,4 see Erickson v. Aetna Health Plans of Calif., 71 Cal.

App. 4th 649, 655 (1999) (“Thus, even in non-FAA cases, courts ‘are guided by the

rule that, contractual arbitration being a favored method of resolving disputes, every

intendment will be indulged to give effect to such proceedings.’”); Maguire v. King, 917

So. 2d 263, 266 (Fla. 5th DCA 2005) (“Florida public policy favors resolving disputes

through arbitration when the parties have agreed to arbitrate.”). Thus, all “doubts

regarding the scope of an arbitration agreement must be resolved in favor of

arbitration.” See Maguire, 917 So. 2d at 266.

              i.      The Agreements Are Valid

       A party seeking to compel arbitration meets its burden by “proving the existence

of a valid arbitration agreement by the preponderance of the evidence[.]” Engalla v.

Permanente Med. Grp., Inc., 15 Cal. 4th 951, 972 (1997); see also Avery v. Integrated

Healthcare Holdings, Inc., 218 Cal. App. 4th 50, 59 (2013) (analyzing issue under both

the FAA and CAA); Shotts v. OP Winter Haven, Inc., 86 So. 3d 456, 464 (Fla. 2011). A


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 The Departure Agreements and Release Agreements are enforceable under Florida venue law and
California state law (per the Departure Agreements) and, thus, are cited as parallel authority.
(Departure Agreements, Weber Decl. Exs. E and F at p. 7, ¶ 7.C; Release Agreements, Id., Exs. H
and I at ¶ 10.) As with the FAA and CEFAA, the California Arbitration Act and Florida Arbitration
Code both enforce valid arbitration agreements except under limited circumstances. See C.C.P. §
1281.2; Fla. Stat. § 682.02.


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party satisfies this burden by “submitting a copy of the [arbitration agreement] as an

exhibit” and “the court is only required to make a finding of the agreement’s existence,

not an evidentiary determination of its validity.” Molecular Analytical Sys. v. Ciphergen

Biosystems, 186 Cal. App. 4th 696, 710 (2010). In light of Plaintiffs’ admissions in the

FAC, and FSSO’s own evidence, FSSO has met its burden of establishing the existence

of valid arbitration agreements, executed by Plaintiffs and FSSO.5 (Weber Decl. ¶¶ 7-

15, Exs. A, B, E, F, G, H, and I.)

               ii.     The Dispute Falls Within the Agreements to Arbitrate

       Plaintiffs agreed in their Enrollment Agreements to arbitrate “any dispute

between [Plaintiff] and the Church, any other Scientology church” and related entities

or persons. (Id., Exs. A, B, and G ¶ 6.d (emphasis added).) Thus, all Plaintiffs’ claims—

whether arising from common law or statute—against the Church must be arbitrated.

Such “[b]road arbitration clauses” “are consistently interpreted as applying to extra-

contractual disputes between the contracting parties.” Khalatian v. Prime Time Shuttle,

Inc., 237 Cal. App. 4th 651, 660 (2015). Similarly, “contractual arbitration agreements

are equally applicable to statutory claims as to other types of common law claims.”

Meyer v. T-Mobile USA Inc., 836 F.Supp. 2d 994, 1004 (N.D. Cal. 2011); Vanacore

Constr., Inc. v. Osborn, 260 So. 3d 527, 531 (Fla. 5th DCA 2018) (same).

       The Baxters also agreed in their Departure Agreements that Scientology

arbitration would be their “sole and exclusive remedy for resolving any problem or


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 For the reasons stated in their respective submissions, each Defendant entity is an intended third-
party beneficiary of the arbitration agreements and may also enforce the agreements.


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dispute” they may have “concerning” their experiences in the Sea Org or any matter

of church governance, organization, or discipline, without limitation to party.

(Departure Agreements, Weber Decl. Exs. E and F at p. 6, ¶ 6.C.) Paris, likewise,

reaffirmed her agreement to arbitrate “any dispute” between her and “any other

Scientology church,” including disputes concerning her “involvement as a Church

staff member or her participation in any Scientology Religious Service” in her Release

Agreements. (Id., Ex. I at ¶ 7.A.) An agreement requiring arbitration of any

controversy arising out of the subject matter of a contract also applies to tort claims

that “have their roots in the relationship between the parties which was created by the

contract.” Izzi v. Mesquite Country Club, 186 Cal. App. 3d 1314, 1315-1316 (1986);

Ciphergen, 186 Cal. App. 4th at 713; Vanacore Constr., 260 So. 3d at 531. Because all of

Plaintiffs’ causes of action concern their participation in and experiences in the Sea

Org, they fall within the scope of the arbitration agreements and are enforceable. See

Lambert, 544 F.3d at 1195.6




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  The Departure Agreements provide that FSSO may go to court to seek injunctive relief “to stop
[Plaintiffs] from doing or threatening to do whatever action would violate the promises” of the
Agreement. (Weber Decl. Ex. E at ¶ ¶ 5.A-B.) Even when parties state that “any and all issues under
this contract shall be resolved by arbitration,” courts have found that a party can seek injunctive relief,
so long as the court is not deciding the core issue committed by the parties to the arbitration. Merrill
Lynch, Pierce, Fenner & Smith Inc. v. Bradley, 756 F.2d 1048, 1053 (4th Cir. 1985) (“where a dispute is
subject to mandatory arbitration under the Federal Arbitration Act, a district court has the discretion
to grant a preliminary injunction to preserve the status quo pending the arbitration of the parties’
dispute if the enjoined conduct would render that process a ‘hollow formality.’”); Variable Life Insurance
Co. v. Laferra, 680 Fed. Appx. 880 (11th Cir. 2017); American Express Financial Advisors, Inc. v.
Makarewicz, 122 F.3d 936 (11th Cir. 1997) (holding that the parties, in the relevant arbitration
agreement, “intended to allow ‘a court of competent jurisdiction’—the United States District Court
for the Middle District of Florida—to provide injunctive relief.”).


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             iii.   The Eleventh Circuit          Enforced    this   Same    Arbitration
                    Agreement in Garcia

      Plaintiffs likely will raise unconscionability as a defense to enforcement of the

plain language of their agreements to arbitrate. It is their burden to prove both

procedural and substantive unconscionability. Estate of Perez v. Life Care Centers of Am.,

Inc., 23 So. 3d 741, 742 (Fla. 5th DCA 2009). But the Eleventh Circuit already has

resolved questions of the “conscionability” of the exact Scientology arbitration

procedures at issue here.

      In Garcia, former Church parishioners sought refunds of donations and

payments they had made to FSO and FSSO. Garcia, 2021 WL 5074465, at *1. The

Eleventh Circuit held that the same arbitration agreements at issue are not

unconscionable and affirmed the Middle District of Florida’s orders (1) compelling

Scientology religious arbitration and (2) denying a motion to vacate the resulting

arbitration award. As here, the Garcias’ agreements required arbitration of “‘any

dispute, claim or controversy’ between the Garcias and ‘the Church, any other

Scientology church, any other organization which espouses, presents, propagates or

practices the Scientology religion, or any person employed by any such entity,’”

through “‘binding religious arbitration in accordance with the arbitration procedures

of Church of Scientology International.’” Id., at *2. “[T]he agreements provided that

the arbitration would ‘be conducted in accordance with Scientology principles’ and

that all arbitrators would be ‘Scientologists in good standing with the Mother

Church.’” Id. The district court enforced the agreements according to their terms and



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compelled religious arbitration of the former parishioners’ claims. The Eleventh

Circuit affirmed rejecting the argument that the arbitration agreements were

procedurally unconscionable and held that the Garcia agreements—identical to the

arbitration provisions in Plaintiffs’ Enrollment Agreements in this case—were

“sufficiently definite,” to give the plaintiffs “some idea of the matters to be arbitrated

and to provide some procedure to effect arbitration.” Id. at *7.7

        Garcia also rejected the plaintiffs’ argument that having “Scientologists in good

standing” serve as arbitrators was substantively unconscionable. The Eleventh Circuit

held that “the district court correctly ruled that the First Amendment prevented it from

entertaining the argument that Scientology doctrine rendered the arbitration

agreements substantively unconscionable.” Id. at *9. To do so would have required the

district court to decide whether the Garcias or the Church “more correctly perceived

the commands of the [Scientology religion],” which is an exercise the First

Amendment prohibits courts from engaging in. Id. (quoting Thomas v. Rev. Bd. of

Indiana Emp. Sec. Div., 450 U.S. 707, 716 (1981)).




7
  The FAC vaguely alleges that Plaintiffs were somehow “required” to sign certain unspecified
documents without being permitted to “examine” (FAC ¶¶ 132, 198) or “read” (id. ¶ 106) the
documents. Even assuming the FAC is referring to the Enrollment Agreements or Departure
Agreements, these allegations of duress attack the validity of the agreements as a whole – and not just
particular arbitration provisions within the agreement – and thus are reserved for the arbitral forum to
adjudicate. Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 449 (2006) (“[A] challenge to the
validity of the contract as a whole, and not specifically to the arbitration clause, must go to the
arbitrator.”); Rent-a-Center, W., Inc. v. Jackson, 561 U.S. 63 (2010) (same); Simula, Inc. v. Autoliv, Inc.,
175 F.3d 716, 726 (9th Cir. 1999) (citing Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395,
403-04 (1967)) (stating that challenges to the agreement as a whole, including economic duress and
fraudulent inducement “are questions for the arbitrator”).


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       Garcia was not the first—or only—case to enforce a religious arbitration

agreement. The “presumption in favor of arbitration” applies with equal force to

“private religious arbitration, which is exceedingly common in our pluralistic religious

society.” Spivey v. Teen Challenge of Fla., Inc., 122 So.3d 986, 992 (Fla. 3d DCA 2013).

Courts routinely enforce those agreements, even where non-believers make objections.

Id. (religious arbitration agreement enforced over objections of non-believer that

procedures required participation in a Christian prayer); see also Elmora Hebrew Ctr., Inc.

v. Fishman, 125 N.J. 404, 416-19 (1991) (rejecting challenge to the religious nature of

the arbitral forum, the party’s consent to the tribunal precludes such a challenge);

Encore Prods., Inc. v. Promise Keepers, 53 F.Supp.2d 1101, 1113 (D. Col. 1999)

(compelling religious arbitration over non-believer’s objection: “It may not be proper

for a district court to refer civil issues to a religious tribunal in the first instance, [but]

if the parties agree to do so, it is proper for a district court to enforce their contract”).

       Plaintiffs agreed to submit all claims and disputes to Scientology internal Ethics

and Justice procedures, up to and including binding ecclesiastical arbitration. As such,

all claims must be compelled to arbitration under those procedures.

       C.     The First Amendment Prohibits the Court from Abrogating the Terms
              of Plaintiffs’ Commitment to the Church

       The arbitration provisions at issue here are internal ecclesiastical dispute resolution

mechanisms established to decide disputes under religious law and policy. As the line of

cases from Watson v. Jones, 80 U.S. 679, 729-31 (1871), to Serbian Eastern Orthodox Diocese




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for the United States of America and Canada et al. v. Milivojevich, 426 U.S. 696, 725 (1976)8

and beyond make clear, civil courts may not examine such procedures to determine

whether they are arbitrary, fair, comport with due process, or would be considered

unconscionable in a civil context: “Constitutional concepts of due process, involving

secular notions of ‘fundamental fairness’ or impermissible objectives, are therefore hardly

relevant to such matters of ecclesiastical cognizance.” Milivojevich, 426 U.S. at 715.

       Indeed, the facts here present an even more compelling case for arbitration than

does Garcia, where the plaintiffs were former lay members of Scientology who had

brought an action for a refund of monetary donations to the Church. Here, Plaintiffs

were voluntary members of the Church’s most elevated religious order. The FAC

concerns the discipline and conditions they were subject to as members of that order.

They joined and remained in the Sea Org on the condition of subjecting themselves to

the discipline and stricture of the Sea Org and to be governed by Scientology Justice

and Ethics procedures in all disputes. They departed from the Sea Org in good standing

within the Scientology religion by reaffirming their pledge to be bound by Scientology

Justice and Ethics procedures in all disputes. Well-established precedent prohibits this

Court from interfering with the terms on which the Church accepts, supervises,

disciplines and laicizes members of its religious order.




8
 In Milivojevich, the Supreme Court held, “The First and Fourteenth Amendments permit hierarchical
religious organizations to establish their own rules and regulations for internal discipline and
government, and to create tribunals for adjudicating disputes over these matters.” 426 U.S. at 724–25.


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        A religion’s right to determine who may join it, and on what terms, is the heart

of its creed. The Supreme Court in Watson, 80 U.S. 679, explained that civil courts

may not exercise supervision over how a church chooses to admit and govern its

relations with members:

                All who unite themselves to [a church] do so with an
                implied consent to [its] government, and are bound to
                submit to it. . . We cannot decide who ought to be members
                of the church. . .[W]hen they became members they did so
                upon the condition of continuing or not as they and their
                churches might determine, and they thereby submit to the
                ecclesiastical power and cannot now invoke the supervisory
                power of the civil tribunals.

Watson, 80 U.S. at 729-731; see also Kedroff v. Saint Nicholas Cathedral of Russian Orthodox

Church in N. Am., 344 U.S. 94, 116 (1952) (religious organizations are entitled to “an

independence from secular control or manipulation, in short, power to decide for

themselves, free from state interference, matters of church government as well as issues

of faith and doctrine.”).9

        Similarly, in Hosanna Tabor v. Equal Emp. Opportunity Comm’n, 565 U.S. 171

(2012), the Supreme Court recognized the long history of the “ministerial exception,”

derived from the Free Exercise and Establishment clauses of the First Amendment,

holding that civil laws could not govern the relations between a church and its

“ministers,” i.e., those who serve a church by “conveying the Church’s message and



9
 As the Eleventh Circuit noted in Church of Scientology Flag Serv. Org., Inc. v. City of Clearwater, 2 F.3d
1514, 1544 (11th Cir. 1993), “[i]f they remain dissatisfied with the church’s voluntarily assumed
disclosure policy then they may attempt to reform that policy from within, they may acquiesce in the
policy despite their objections or they may leave the church” but may not seek to have the courts or
other civil authority intrude or abrogate church policy for them. Id. (citing Watson, 80 U.S. at 731).


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carrying out its mission.” Id. at 192 (applying the “ministerial exception” to bar a

teacher’s ADA action to challenge the church’s decision to terminate because her suit

“interferes with the internal governance of the church, depriving the church of control

over the selection of those who will personify its beliefs.”)10; see also Alcazar v. Corp. of

Catholic Archbishop of Seattle, 627 F.3d 1288, 1293 (9th Cir. 2010) (“The ministerial

exception applies notwithstanding the assignment of some secular responsibilities.”)11

       Many religious workers who perform important religious duties must meet

specific religious qualifications or criteria to hold their positions, or both. Principles of

governmental and judicial non-interference in matters of ecclesiastical administration

apply to the relationship of churches with such religious workers to the same extent as

it does with the more traditional concept of “ministers.” Rweyemamu v. Cote, 520 F.3d

198, 206 (2d Cir. 2008) (“The ministerial exception protects more than just

‘ministers.’”). “Congress does not want courts to interfere in the internal affairs of

churches, . . . That is why the minister’s exception is better termed the ‘internal affairs’

doctrine.” Schleicher v. Salvation Army, 518 F.3d 472, 475 (7th Cir. 2008). Thus, any test

cannot focus on a mechanical calculation of how much time a minister devotes to his



10
   Allowing the state to intrude into such matters “results in excessive [government] entanglement with
religion in violation of the establishment clause,” and “violate[s] the free exercise clause” because
“‘churches . . . must have power to decide for themselves, free from state interference, matters of
church government as well as those of faith and doctrine.’” Silo v. CHW Med. Found., 27 Cal. 4th 1097,
1106 (2002). “[A] minister’s working conditions . . . are part of the minister’s employment relationship
with the church.” Werft v. Desert Sw. Ann. Conf. of United Methodist Church, 377 F.3d 1099, 1103 (9th
Cir. 2004) (emphasis in original); Headley v. Church of Scientology Int’l., No. 09-3986-DSF, 2010 WL
3157064 at *5 (C.D. Cal. Aug. 5, 2010).
11
   The U.S. Government recognizes that members of religious orders are exempt from employment
laws. U.S. Department of Labor, Field Operations Handbook § 10b03(b).


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or her religious duties.12 Hosanna-Tabor, 565 U.S. at 193; see also Alcazar, 627 F.3d at

1292 (minister in training spent most of his time performing manual labor). The ultimate

question is whether the employee’s work is important to the spiritual and pastoral

mission of the church. Hope Int’l Univ. v. Superior Ct., 119 Cal. App. 4th 719, 734 (2004).13

        Plaintiffs’ service in the Sea Org fell within the ministerial exception. As

mentioned above, Plaintiffs signed Covenants with the Sea Org that recited a “pledge

of eternal service to the Scientology religion and its goals.” (Covenants, Weber Decl.

Exs. C and D at p. 1, ¶ 1.) Each of the Baxters acknowledged a covenant that “binds

[them] to follow the ecclesiastical, moral and ethical policies, rules, norms and

practices of the Scientology religion as a member of a religious order and to follow the

administrative policies and procedures of the Church.” (Id. at p. 1, ¶ 2.) They each

understood their service to be a “religious commitment to spiritual awareness, to the

Scientology religion and to create a better world.” Thus, they each agreed to “serve

pursuant to their religious obligations and not in contemplation of receiving any

monetary gain or for other traditional commercial or financial motives or incentives




12
   Our Lady of Guadalupe School v. Morrissey-Berru 140 S. Ct. 2049 (2020) (dismissing ADA and ADEA
actions by two teachers at Catholic elementary schools though the teachers in question were not titled
“ministers,” had “limited religious training,” did not hold themselves out to the public “as a minister
or religious leader” because the teachers served a role as “messenger” of the religious faith and thus
“judicial intervention into disputes between the school and the teacher threatens the school’s
independence in a way that the First Amendment does not allow.”)
13
   See Sterlinski v. Catholic Bishop of Chicago, 934 F.3d 568 (7th Cir. 2019) (affirming that church organist
was subject to ministerial exception); Fratello v. Archdiocese of New York, 863 F.3d 190, 203 (2d Cir.
2017) (principal of parochial school’s claim barred by ministerial exception); Ross v. Metro. Church of
God, 471 F. Supp. 2d 1306, 1310 (N.D. Ga. 2007) (collecting cases applying exception to musical
director, organist, choir director, resident in hospital program, religion teacher, nun, kosher food
supervisor and director of religious education).


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whatsoever.” (Id. at p. 1, ¶¶ 3, 4.) Plaintiff Paris’ Covenant contained similar

acknowledgments of her understanding of her religious role and obligations in the Sea

Org. (Heller Decl. ¶ 24, Ex. A, p. 2.) The Covenants reflected the reality of each

Plaintiff’s service to advance their religion.

       Finally, the Freewinds is not a “cruise ship,” as Plaintiffs allege, open to believers

and non-believers; it is a floating church and only members in the Sea Org may serve

as its crew. Parishioners come from all over the world to participate in Scientology

services on the Freewinds. (Weber Decl. ¶ 6.) The Freewinds also carries out a charitable

and humanitarian mission throughout the Caribbean. (Id.) Plaintiffs’ service in

operating the Freewinds directly assisted and advanced the Scientology ministry to

parishioners and the proselytization of Scientology. Headley, 2010 WL 3157064, at *6

(dismissing claims of a member in the Sea Org working at a Scientology video

production facility because adjudicating a member’s claim in the Sea Org “would also

require the Court to analyze the criteria Defendant uses to choose ministers and the

reasonableness of the methods used to enforce church policy.”)

       Ultimately, any “unconscionability” objection to the terms of the agreements

runs up against the reality that the agreements governed Plaintiffs’ acceptance into and

departure from the Sea Org ministry. Unconscionability must be measured as of the

time the agreement containing the arbitration clause was made. Steinhardt v. Rudolph,

422 So. 2d 884, 889 (Fla. 3d DCA 1982). No secular court may adjudicate what terms

and conditions a “reasonable” minister would accept in serving a faith, or to depart




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the ministry and remain in good standing with the faith.14 Milivojevich, supra, 426 U.S.

at 715 (“secular notions of ‘fundamental fairness’ . . . are therefore hardly relevant to

such matters of ecclesiastical cognizance.”) Adjudication of the “reasonableness” of

submitting to a faith and serving in accord with the strictures of a faith is beyond the

scope of any secular court’s authority. Headley v. Church of Scientology Intl., 687 F.3d

1173, 1180 (9th Cir. 2012) (holding that former Sea Org members could not assert

TVPRA forced labor claims based on fear of being declared “suppressive persons”;

such a policy was not an unreasonable threat but a “legitimate consequence” for

“members who do not act in accordance with church doctrine.”)

 II.   Alternatively, Plaintiffs’ Claims Must Be Dismissed Under Rule 12(b)(6)
       Subject to and without waiving FSSO’s enforceable arbitration rights and rights

to interlocutory appeal of any denial of the Motion to Compel Arbitration, FSSO

alternatively states that all of Plaintiffs’ claims must be dismissed under Fed. R. Civ.

P. 12(b)(6) for the reasons set forth in Defendant FSO’s Motion to Dismiss, which

FSSO joins in and incorporates by reference in its entirety.




14
  Plaintiffs themselves claim that their upbringing in Scientology, adherence to Scientology religious
doctrine, and their desire to remain in good standing with Scientology and avoid demotion to “lower
conditions” were the reasons they complied within the Sea Org. (FAC ¶¶ 36, 38, 47-48, 54-55, 73, 103,
106, 133-135; see also FSO Motion to Dismiss (ECF No.85), at § II.E. Plaintiffs notably fail to state
that any threat or statement was made to them in connection with signing the documents that are
presumably the Departure Agreements (FAC ¶¶ 132, 177, 198), alleging only that they were
“required” (id.) to sign by the Sea Org. Any “pressure” that Plaintiffs felt to sign the agreements to
remain part of the Scientology religion or the Sea Org is not evidence of duress. Spring Lake NC, LLC
v. Beloff, 110 So. 3d 52, 55 (Fla. 2d DCA 2013) (finding no procedural unconscionability where
pressure plaintiff felt to execute agreement was self-imposed). In any event, as stated above at note 7,
Plaintiffs’ allegations that they were “required” to sign agreements without “examining them” goes to
the validity of the entire agreement and thus should be reserved for the arbitrators to hear.


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                           Local Rule 3.01(g) Certification

      The undersigned counsel hereby certifies that the undersigned conferred with

Plaintiffs’ counsel, Neil Glazer and Zahra Dean of Kohn Swift & Graf, PC, Gregory

Hansel of Preti Flaherty Beliveau & Pachios, Chartered LLP, and Manuel J. (John)

Dominguez of Cohen Milstein Sellers & Toll PLLC who does not agree to the relief

sought in this motion. Counsel further certifies that this motion is brought in good

faith and not for any improper purpose.

                                       /s/ Charles M. Harris, Jr.
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                           CERTIFICATE OF SERVICE


      I certify that on August 23, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a true and correct

copy to all counsel of record.

                                                    /s/ Charles M. Harris, Jr.
                                                    Attorney




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